     Case 2:08-cr-00064-JCM-EJY         Document 383        Filed 01/25/12     Page 1 of 2




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 4    Las Vegas, Nevada 89101
      (702) 388-6336
 5
                UNITED STATES DISTRICT COURT
 6
                     DISTRICT OF NEVADA
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 9   UNITED STATES OF AMERICA,                        )
                                                      )   2:08-cr-00064-RLH-GWF
10                         PLAINTIFF,                 )
                                                      )   AMENDED MOTION TO DISMISS
11   VS.                                              )   SUPERSEDING INDICTMENT
                                                      )   RETURNED JUNE 18, 2008, AS TO
12   JYOTHI PANIKKAR,                                 )   DEFENDANT JYOTHI PANIKKAR
                                                      )
13                         DEFENDANT.                 )
                                                      )
14                                                    )
15            The United States of America, by and through Daniel G. Bogden, United States Attorney,
16   and Brian Pugh, Assistant United States Attorney, moves to dismiss the Superseding Indictment
17   returned June 18, 2008, but only as to defendant Jyothi Panikkar and as a basis therefore states as
18   follows: Defendant was charged by Superseding Information, pled guilty and was sentenced to same.
19            Respectfully submitted this 24th day of January 2012.
20                                                    DANIEL G. BOGDEN
                                                      United States Attorney
21
                                                      /s/ Brian Pugh
22                                                    __________________________
                                                      BRIAN PUGH
23                                                    Assistant United States Attorney
24            IT IS SO ORDERED:
25

26                                                    _______________________________
                                                      UNITED STATES DISTRICT JUDGE

                                                      DATED: January 25, 2012
     Case 2:08-cr-00064-JCM-EJY          Document 383        Filed 01/25/12      Page 2 of 2




 1                                    Electronic Certificate of Service
 2            I, the undersigned, hereby certify that on this day an electronic copy of the foregoing
 3   Amended Motion to Dismiss Superseding Indictment Returned June 18, 2008, as to Jyothi
 4   Panikkar, was electronically served on Peter S. Christiansen, counsel of record.
 5            DATED: January 24, 2012.
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 7                                                     /s/ Pamela J. Mrenak
                                                       Pamela J. Mrenak
 8                                                     Legal Assistant
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